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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

BRIAN HOGG, on behalf of himself and all others
similarly situated,

        Plaintiff,

v.                                                             Case No.: 1:21-cv-01299-MN

DILLON LOGISTICS, INC. and COTTON CREEK
CAPITAL PARTNERS II, L.P.,

      Defendants.
__________________________________________/

               COTTON CREEK CAPITAL PARTNERS II, L.P.’S ANSWER
                 TO FIRST AMENDED CLASS ACTION COMPLAINT

        Defendant, Cotton Creek Capital Partners II, L.P. (“Cotton Creek”), responds to the

First Amended Class Action Complaint (“Complaint”), filed by Plaintiff Brian Hogg

(“Plaintiff”), as follows:

                                  NATURE OF THE ACTION

        1.      Denied.

        2.      Neither admitted nor denied as the Complaint speaks for itself.

                                 JURISDICTION AND VENUE

        3.      Admitted.

        4.      Denied.

                                         THE PARTIES

        5.      Admitted.

        6.      Admitted.

        7.      Cotton Creek is without sufficient knowledge and information to form a belief as

to the truth or accuracy of the allegations contained in this paragraph.


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       8.       Denied.

       9.       Denied.

       10.      Denied.

       11.      Denied.

       12.      Denied.

       13.      Denied.

       14.      Denied.

       15.      Denied.

                  CLASS ACTION ALLEGATIONS – 29 U.S.C. § 2104(a)(5)

       16.      Denied, as no class has been certified, among other things.

       17.      Cotton Creek is without sufficient knowledge and information to form a belief as

to the truth or accuracy of the allegations contained in this paragraph.

       18.      Denied.

       19.      Denied, as neither Plaintiff nor any other person was entitled to notice under the

WARN Act, among other things.

       20.      Denied, as Cotton Creek is not a single employer under the WARN Act, among

other things.

                  CLASS ACTION ALLEGATIONS – 29 U.S.C. § 2104(a)(5)

       21.      Denied, as no class has been certified, among other things.

       22.      Denied.

       23.      Denied.

       24.      Denied.

       25.      Denied.



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       26.     Cotton Creek is without sufficient knowledge and information to form a belief as

to the truth or accuracy of the allegations contained in this paragraph.

       27.     Denied.

       28.     Denied.

CAUSES OF ACTION & CLAIM FOR RELIEF: VIOLATION OF THE WARN ACT, 29
                         U.S.C. §§ 2101, et seq.

       29.     Denied.

       30.     Denied.

                            SINGLE EMPLOYER ALLEGATIONS

       31.     Denied.

       32.     Denied.

       33.     Denied.

       34.     Denied.

       35.     Denied.

       36.     Denied.

       37.     Denied, as Cotton Creek was not a single employer and notice under the WARN

Act was not required, among other things.

       38.     Denied, as Cotton Creek was not a single employer and notice under the WARN

Act was not required, among other things.

       39.     Denied.

                                      VACATION CLAIM

       40.     Cotton Creek realleges and incorporates by reference all allegations in the

preceding paragraphs herein.

       41.     Denied.


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       42.      Denied.

       43.      Denied.

       44.      This paragraph contains a Jury Demand to which no substantive response is

required.    Cotton Creek denies that Plaintiff and the “Class Members” are entitled to any

judgment described after this paragraph in the Complaint.

                                 AFFIRMATIVE DEFENSES

       Cotton Creek asserts the following affirmative defenses without assuming any burden of

proof on issues where the Plaintiff bears such burdens:

       1.       The Complaint fails to state a claim against Cotton Creek for which relief may be

granted.

       2.       The Complaint should be dismissed because the factual conclusions and

allegations concerning Cotton Creek are baseless, false, and/or misinformed.

       3.       Cotton Creek was not a single employer under the WARN Act. Cotton Creek and

Dillon Logistics, Inc. (“Dillon”) did not have common ownership, directors, and/or officers.

Cotton Creek did not exercise control over Dillon—de facto or otherwise. Cotton Creek and

Dillon did not have a unity of personal policies emanating from a common source or have a

dependency of operations.

       4.       Cotton Creek was not Plaintiff’s or any other Dillon employee’s employer.

       5.       Dillon was not required to send any notice of its closure under the WARN Act as

to its Savannah facility because Dillion did not employ 50 or more employees in its Savannah

facility and, therefore, there was no “plant closing” as defined by the WARN Act.




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       6.      Dillon was not required to send any notice of its closure under the WARN Act as

to its Savannah facility because Dillion’s closure did not amount to a “mass layoff” as defined by

the WARN Act.

       7.      The WARN Act did not apply to Dillon’s closure based on the “unforeseen

business circumstances” exception to the WARN Act.

       8.      The WARN Act did not apply to Dillon’s closure based on the “faltering

company” exception to the WARN Act.

       9.      The WARN Act did not apply to Dillon’s closure based on the natural disaster

exception to the WARN Act.

                                        CONCLUSION

       WHEREFORE, Cotton Creek respectfully requests the Court to:

       A.       enter judgment dismissing the Complaint with prejudice as to Cotton Creek

                judgment dismissing the Complaint with prejudice;

       B.       upon motion, pursuant to Federal Rule of Civil Procedure Rule 11, awarding

                Cotton Creek its attorneys’ fees, costs and expenses for having to defend against

                the baseless and frivolous claims set forth in the Complaint against Cotton

                Creek;

       C.       upon motion, pursuant to 28 U.S.C. § 1927, awarding Cotton Creek its attorneys’

                fees, costs and expenses for having to defend against the baseless and frivolous

                claims set forth in the Complaint against Cotton Creek;

       D.       upon motion, pursuant to any other applicable rule or law, awarding Cotton

                Creek its attorneys’ fees, costs and expenses for having to defend against the




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             baseless and frivolous claims set forth in the Complaint against Cotton Creek;

             and

      E.     enter such other and further relief as this Court deems just and equitable.

Dated: November 3, 2021                   Respectfully submitted,

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                                          CAPITAL PARTNERS II, L.P.

                                          * pro hac vice motions to be filed




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                              CERTIFICATE OF SERVICE

       I, Dennis A. Meloro, hereby certify that on November 3, 2021, a true copy of the

foregoing Cotton Creek Capital Partners II, L.P.’s Answer to First Amended Class Action

Complaint was served via electronic mail upon the following counsel of record:

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